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 1   Timothy V. Magill, Esq., 082398
     MAGILL LAW OFFICES
 2   5084 North Fruit Avenue, Suite 106
     Fresno, California 93711
 3   Telephone : (559) 229-3333
     Facsimile: (559) 229-4234
 4
 5
     Attorney for Defendant, SUKHWINDER SINGH
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 7
 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                      ) Case No.: CRF-04-5356-AWI
11      UNITED STATES OF AMERICA,                     )
                                                      ) ORDER FOR COPY OF SUKHWINDER
12                     Plaintiff,                     ) SINGH’S PASSPORT
                                                      )
13            vs.                                     )
        NIJJAR BROTHERS TRUCKING, INC., et            )
14                                                    )
        al.,                                          )
15                                                    )
                       Defendants.                    )
16                                                    )

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            UPON GOOD CAUSE BEING SHOWN, at the hearing on November 21, 2005, the court
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     orders the clerk to provide to Sukhwinder Singh’s counsel, Timothy V. Magill, a copy (whether
20
     by Xerox or photocopy) of the passport for Sukhwinder Singh.
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     IT IS SO ORDERED.
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25   Dated:    November 22, 2005                     /s/ Anthony W. Ishii
     0m8i78                                    UNITED STATES DISTRICT JUDGE
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